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15
                                 UNITED STATES DISTRICT COURT
16                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                    SAN FRANCISCO DIVISION
17
                                                Case No. 3:25-cv-1780-WHA
18   AMERICAN FEDERATION OF
     GOVERNMENT EMPLOYEES, et al.
19
                                                DEFENDANTS’ NOTICE OF FILING OF
20           Plaintiffs,                        EVIDENCE

21                   v.

     UNITED STATES OFFICE OF PERSONNEL          The Hon. William H. Alsup
22
     MANAGEMENT, et al.,
23
              Defendants.
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 1          Defendants write to: (i) submit additional documentation and to (ii) identify materials of
 2   which the Court may take judicial notice, both in support of their legal arguments in advance of
 3   the Court’s March 13, 2025 hearing. Previously, in support of their Opposition to Plaintiffs’
 4   Motion for a Temporary Restraining Order on February 26, 2025, see ECF No. 33, Defendants
 5   submitted the following materials:
 6              •   Office of Personnel Management’s (“OPM”) Guidance on Probationary Periods,
 7                  Administrative Leave and Details, dated January 20, 2025. See Ex. 1 (previously
 8                  ECF No. 37).
 9              •   An email dated February 14, 2025 from OPM to the Chief Human Capital
10                  Officers (“CHCO”) council providing additional information to agencies. See Ex.
11                  2 (previously ECF No. 37-1).
12              •   A frequently asked questions (“FAQs”) document issued by OPM on February
13                  24, 2025, providing additional information on how agencies should evaluate
14                  probationary employees. See Ex. 3 (previously ECF No. 37-2).
15              •   An email dated February 24, 2025 from OPM to CHCOs and Deputy CHCOs
16                  attaching the aforementioned FAQs document. See Ex. 4 (previously ECF No. 37-
17                  3).
18          Because these items were part of the now-withdrawn declaration of Acting OPM
19   Administrator Charles Ezell, Defendants re-submit them as exhibits attached to this filing.
20   Defendants will include all of them in the forthcoming administrative record in this matter.
21          Subsequently, on March 7, 2025, Defendants submitted in support of their opposition to
22   Plaintiffs’ motion for leave to file a Second Amended Complaint:
23              •   OPM’s revised guidance on March 4, 2025 clarifying that “OPM is not directing
24                  agencies to take any specific performance-based actions regarding probationary
25                  employees[,]” and further clarifying that “[a]gencies have ultimate decision-
26                  making authority over, and responsibility for, such personnel actions.” ECF No.
27                  64-1; see also ECF No. 78.
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 1          And then in response to this Court’s Second Request for Information, Defendants
 2   submitted on March 10, 2025:
 3              •   A template letter attached to a February 14, 2025 email sent by OPM to various
 4                  CHCOs. ECF No. 87-1.
 5          As a further part of their evidentiary presentation before this Court, Defendants now
 6   submit the following, additional documentary evidence in support of their arguments that OPM
 7   did not direct agencies to terminate probationary employees, which Defendants will include in
 8   the forthcoming administrative record prepared for this APA matter:
 9              •   A February 12, 2025 e-mail titled “[Action Due 2/13] Probationary Employee
10                  Actions” sent by OPM to Chiefs of Staff clarifying next steps following OPM’s
11                  guidance, see Ex. 5, and attaching a template letter previously produced by
12                  Defendants, see ECF No. 87-1.
13          In addition, Defendants identify the following materials of which the Court may take
14   judicial notice in support of their arguments that OPM did not direct agencies to terminate
15   probationary employees:
16              •   The President’s Executive Order titled “Hiring Freeze,” dated January 20, 2025,
17                  in which the President imposed a freeze on federal hiring; ordered the Office of
18                  Management and Budget to “submit a plan to reduce the size of the Federal
19                  Government’s workforce through efficiency improvements and attrition”; and
20                  instructed that, “[i]n carrying out this memorandum, the heads of executive
21                  departments and agencies shall seek efficient use of existing personnel and funds
22                  to improve public services and the delivery of these services,” see Ex. 6, also
23                  available at https://www.whitehouse.gov/presidential-actions/2025/01/hiring-
24                  freeze.
25              •   The President’s Executive Order titled “Implementing The President’s
26                  ‘Department of Government Efficiency’ Workforce Optimization Initiative,”
27                  dated February 11, 2025, in which the President ordered that “Agency Heads shall
28                  promptly undertake preparations to initiate large-scale reductions in force (RIFs),



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 1                 consistent with applicable law, and to separate from Federal service temporary
 2                 employees and reemployed annuitants working in areas that will likely be subject
 3                 to the RIFs,” see Ex. 7, also available at
 4                 https://www.whitehouse.gov/presidential-actions/2025/02/implementing-the-
 5                 presidents-department-of-government-efficiency-workforce-optimization-
 6                 initiative.
 7             •   A Fact Sheet published by the White House titled “Fact Sheet: President Donald
 8                 J. Trump Works to Remake America’s Federal Workforce,” dated February 11,
 9                 2025, indicating that “Agency Heads will coordinate and consult with DOGE to
10                 shrink the size of the federal workforce and limit hiring to essential positions”;
11                 that “Agencies will undertake plans for large-scale reductions in force and
12                 determine which agency components (or agencies themselves) may be eliminated
13                 or combined because their functions aren’t required by law”; that “President
14                 Donald J. Trump is committed to reducing the size and scope of the federal
15                 government”; and that “President Trump has made reforming the federal
16                 workforce a key priority for his second term.” See Ex. 8, also available at
17                 https://www.whitehouse.gov/fact-sheets/2025/02/fact-sheet-president-donald-j-
18                 trump-works-to-remake-americas-federal-workforce.
19             •   A February 13, 2025 statement from the Department of Veteran Affairs (“VA”),
20                 noting that VA’s terminations of probationary employees exempted employees
21                 “in mission-critical positions” and were “part of a government-wide Trump
22                 Administration effort to make agencies more efficient, effective and responsive to
23                 the American People,” and including the following statement from VA Secretary
24                 Doug Collins “This was a tough decision, but ultimately it’s the right call to better
25                 support the Veterans, families, caregivers, and survivors the department exists to
26                 serve.” See Ex. 9, also available at https://news.va.gov/press-room/va-dismisses-
27                 more-than-1000-employees.
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 1              •   A February 14, 2025 statement from the Department of Agriculture (“USDA”),
 2                  explaining that “USDA is pursuing an aggressive plan to optimize its workforce
 3                  by eliminating positions” as “[p]er the President’s directives.” See Ex. 10, also
 4                  available at https://www.usda.gov/about-usda/news/press-
 5                  releases/2025/02/14/secretary-rollins-takes-bold-action-stop-wasteful-spending-
 6                  and-optimize-usda-better-serve-american.
 7              •   A February 21, 2025 statement from the Department of Defense titled “DoD
 8                  Probationary Workforce Statement,” indicating that “the Department of Defense
 9                  is re-evaluating our probationary workforce, consistent with the President’s
10                  initiative to reform the Federal workforce to maximize efficiency and
11                  productivity,” and that “This re-evaluation of probationary employees is being
12                  done across government, not just at the Defense Department, but we believe in the
13                  goals of the program, and our leaders are carrying out that review carefully and
14                  smartly.” See Ex. 11, also available at
15                  https://www.defense.gov/News/Releases/Release/Article/4074278/dod-
16                  probationary-workforce-statement.
17              •   A March 11, 2025 statement from the Department of Education announcing a
18                  reduction in force, to be conducted in accordance with separate legal requirements
19                  applicable to reductions in force, “[a]s part of the Department of Education’s final
20                  mission.” Ex. 12, also available at https://www.ed.gov/about/news/press-
21                  release/us-department-of-education-initiates-reduction-force.
22          Defendants intend to rest on this documentary evidence and their legal arguments at the
23   upcoming hearing. Defendants submit that further discovery and evidentiary issues in this APA
24   case should be taken up, if necessary, following Defendants’ preparation of an administrative
25   record. See ECF No. 97 at 1-2.
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     Dated: March 12, 2025              Respectfully submitted,
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